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                                   EXHIBIT 1
                 16-12925-scc               Doc 53-4      Filed 01/25/18 Entered 01/25/18 19:46:33                                  Exhibit 1-to
82570 (Fom1 2570 - Subpoena to Produce Documents, Information , or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)
                                                         Gordon Declaration Pg 2 of 13
                                         UNITED STATES BANKRUPTCY COURT
                 Southern                                                   District of              New York
                                                                                             ----~~~~-----------------------------

In re Platinum Partners Value Arbitrage Fund L.P ., et al.
                              Debtor
                                                                                     Case No. 16-12925 Gointly administered)
           (Complete if issued in an adversary proceeding)
                                                                                     Chapter _1_5_______

                                       Plaintiff
                                          v.                                         Adv. Proc. No. ________

                                     Defendant

          SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
          INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: CohnReznick LLP
                                                           (Name ofperson to whom the subpoena is directed)

  [R] Production: YOU ARE COMMANDED to produce at the time, date, and              place set forth below the following
  documents, electronically stored infonnation, or objects, and to permit inspection, copying, testing, or sampling of the
  material:


  PLACE        Morgan, Lewis & Bockius LLP, c/o Joshua Dorchak                                                DATE AND TIME
                101 Park Avenue, New York, New York 10178                                                         October 2, 2017 at 5:00p.m. (ET)


  D   Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
I PLACE                                                                                                     I DATEANDTIME

          The following provisions of Fed . R. Civ. P. 45 , made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45( e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

  Date: August31, 2017
                                       CLERK OF COURT

                                                                                      OR

                                       Signature ofC/erk or Deputy Clerk                             Attorney's signature

  The name, address, email address, and telephone number of the attorney representing (name ofparty)
                                       who iSSUeS or requests this SUbpoena, are:
  Margot Macinnis, authorized foreign representative ,

  Joshua Dorchak; Morgan, Lewis & Bockius LLP, 101 Park Avenue, New York, NY 10178; (212) 309-6700; joshua.dorchak@morganlewis.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy ofthis subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                       Gordon
82570 (Fonn 2570 - Subpoena to Produce Documents, Information,      Declaration
                                                               or Objects                  Pg 3inof
                                                                          or To Pem1it inspection    13
                                                                                                  a Bankruptcy Case or Adversary Proceedingl (Page 2)



                                                              PROOF OF SERVICE
                      (This section should not be flied with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
on (date) _ _ __


D I served the subpoena by delivering a copy to the named person as follows: -----------------------------------

_ _ _ _ _ _ _ _ _ _ _ _ _ __ on (date) _ _ _ _ _ _ _ _ ; or


D I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day's attendance, and the mileage allowed by law, in the amount of$ ____________

 My fees are $ _ _ _ _ for travel and $_ _ _ _ for services, for a total of$ _ _ __


          I declare under penalty of perjury that this information is true and correct.

Date:

                                                                                                              Server's signature


                                                                                                           Printed name and title




                                                                                                               Server's address


Additional information concemjng attempted service, etc.:
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82570 (Fonn 2570 - Subpoena to Produce Documents, Infonnation, or Objects or To Penn it Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (/)For a Trial, Hearing, or Deposition. A subpoena may command a                      study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material ~hat cannot
      (i) is a party or a party's officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within I 00 miles of where the person resides, is employed,             ( I) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                             (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      ( 1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                             (B) Form for Producing Electronically Stored Information No t
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. !fa subpoena does not specify a torm for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored inforn1ation, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction -
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees - on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                             (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit /n:;pection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                             (D) Inaccessible Electronical(v Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources ifthe
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises - or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Mod!fYing a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (i i) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requ ires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (8) When Permitted. To protect a person subject to or affected by a
                                                                                        is reso lved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required - and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court - may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                           For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                    ANNEXA

                Document Requests Directed to CohnReznick LLP
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I.       DEFINITIONS

         1.     "CohnReznick" means CohnReznick LLP, each of its affiliates, predecessors and

successors in interest, each of its present and former members, attorneys, agents, employees,

representatives, managers, administrators, advisors, and any other Person acting on its behalf or

otherwise subject to its control.

         2.     "Communication" means the transmittal of information (in the form of facts,

ideas, inquiries or otherwise).

         3.     "Concerning" means relating to, referring to, describing, detailing, evidencing, or

constituting.

         4.     "Document" is defined to be synonymous in meaning and equal in scope to the

usage of the term "documents or electronically stored information" in Fed. R. Civ. P.

34(a)(l)(A). A draft or non-identical copy is a separate document within the meaning of this

term.

         5.     "Funds" means any or all of the Master Fund, the Intermediate Fund and the

International Fund.

         6.     "Including" means including, but not limited to.

         7.     "Intermediate Fund" means Platinum Partners Value Arbitrage Intermediate Fund

Ltd (in Official Liquidation), each of its collective parents, subsidiaries, affiliates, predecessors

and successors in interest, each of its present and former members, attorneys, agents, employees,

representatives, managers, administrators, advisors, and any other Person acting on its behalf or

otherwise subject to its control.

         8.     "Intermediate Fund Liquidators" means Margot Macinnis and Cosimo Borrelli, as

joint official liquidators of the Intermediate Fund.
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        9.        "International   Fund"   means    Platinum     Partners    Value    Arbitrage    Fund

(International) Ltd. (in Official Liquidation), each of its collective parents, subsidiaries, affiliates,

predecessors and successors in interest, each of its present and former members, attorneys,

agents, employees, representatives, managers, administrators, advisors, and any other Person

acting on its behalf or otherwise subject to its control.

        10.       "International Fund Liquidators" means Margot Macinnis and Nilani Perera, as

joint official liquidators and Chapter 15 authorized foreign representatives of the International

Fund.

        11.       "Liquidators" means any or all of the Master Fund Liquidators, the Intermediate

Fund Liquidators and the International Fund Liquidators.

        12.       "Master Fund" means Platinum Partners Value Arbitrage Fund L.P. (in Official

Liquidation), each of its collective parents, subsidiaries, affiliates, predecessors and successors in

interest, each of its present and former members, attorneys, agents, employees, representatives,

managers, administrators, advisors, and any other Person acting on its behalf or otherwise subject

to its control.

        13.       "Master Fund Liquidators" means Matthew Wright and Christopher Kennedy, as

joint official liquidators and Chapter 15 authorized foreign representatives of the Master Fund.

        14.       "Person" means any natural person or any legal entity, including, without

limitation, any business or governmental entity or association.

        15.       "You" and "your" refers to CohnReznick LLP.

        16.       When referring to a person, "to identify" means to state, to the extent known, the

person' s full name, present or last known address, and when referring to a natural person,

additionally, the present or last known place of employment.



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           17.   When referring to documents, "to identify" means to state, to the extent known,

the type, general subject matter, date, and author(s), addressee(s) and recipient(s), of the

document.

           18.   The connectives "and" and "or" shall be construed either conjunctively or

disjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

           19.   The terms "all," "any," and "each" shall each be construed as encompassing any

and all.

           20.   The use of the singular form of any word includes the plural and vice versa.

                                         INSTRUCTIONS

           1.    Each request for documents seeks production of all documents described herein,

and any attachments thereto, in your possession, custody, or control or in the possession, custody

or control of any of your attorneys, employees, agents, or representatives, and all documents and

any attachments which you or any of your attorneys, employees, agents, or representatives have

the legal right to obtain or have the ability to obtain from sources under your or their control.

           2.    Unless otherwise specified, the documents called for by these document requests

are documents that were applicable, effective, prepared, written, generated, sent, dated, or

received at any time during the period commencing January 1, 2014 through and including the

date of receipt of these document requests. Documents created outside this time period that refer

to actions or matters taken or considered within this time period are to be considered to be within

the time period defined in this paragraph.




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       3.      Each request for documents seeks production of all documents described,

including all drafts and nonidentical copies. If more than one identical copy of a document

exists, produce the most legible copy.

       4.      Each request for a document contemplates production of the document in its

entirety, without abbreviation or redaction.

        5.     These requests are continuing in nature. Any additional documents coming into

your possession that are responsive to the foregoing requests shall be furnished promptly.

Additionally, if you become aware that a response is inaccurate, incomplete, or misleading, you

are required to supplement or amend your response.

        6.     Each request shall be construed independently and not with reference to any other

request for documents or communications.

        7.      You should produce documents or communications not directly responsive to a

request if such documents or communications refer to, relate to, reflect, concern, or explain the

documents or communications called for by the document request, or if such documents or

communications are attached to documents or communications called for by the request.

        8.      If any of the following requests for production of documents cannot be complied

with in full, they shall be complied with to the extent possible with an explanation as to why full

compliance is not possible.

        9.      If there are no documents or communications responsive to a particular request,

you shall so state in writing.

        10.     If you object to any particular portion of any request herein, you are nevertheless

required to produce documents in response to all other portions of such request as to which there

is no objection.



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       11.     The Liquidators have succeeded to and now hold any privilege formerly held by

the Funds, including privilege with respect to any services you have provided, or is currently

providing, to the Funds. Nonetheless, if it is claimed that any privilege held by you is applicable

to any document sought by this request, the document is to be identified as follows:

                   a. The type of document;

                   b. The general subject matter of the document;

                   c. The date of the document;

                   d. The author of the document;

                   e. The addressees of the document, and any other recipients; and

                   f.   Where not apparent, the relationship of the author, addressees, and

                        recipients to each other.

       12.     If any document responsive to the following requests has been altered or

destroyed or otherwise disposed of, that document is to be identified as completely as possible,

including, without limitation, the following information:

                   a. The type of document;

                   b. The general subject matter of the document;

                   c. The date of the document;

                   d. The author of the document;

                   e. The addressees of the document, and any other recipients;

                   f.   Where not apparent, the relationship of the author, addressees, and

                        recipients to each other;

                   g. State the reason for disposal of the document; and

                   h. Identify each and every person who authorized disposal ofthe document.



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       13.      In producing documents, all documents that are physically attached to each other

shall be produced in that form. If a document responsive to any request cannot be produced in

full, it shall be produced to the extent possible with an explanation stating why production of the

remainder is not possible.

       14.      For each document that is an electronic or digital document, produce text-

searchable TIFF images with load files, and include the following metadata fields: to, from, cc,

bee, date sent, date received, date created, date modified, and attachments.             All other

electronically stored information shall be produced in its native format.       Non-electronically

stored information (paper documents) should be produced in electronic form as text-searchable

TIFF images with Concordance load files.

       15.      At a future date, the Liquidators may also subpoena individuals associated with

you for depositions and/or trial testimony.

       16.      The Liquidators reserve all rights to expand or supplement all requests for

information and the documents and communications set forth herein.

       17.      As the Liquidators have succeeded to the Funds' rights as your client, the

Liquidators have the right to access your file on any represented matters, including all documents

you possess that relate to any such representation.

                               REQUESTS FOR PRODUCTION

       1.       All documents and communications concerning your engagement to perform

and/or your performance of auditing, accounting or other services for, on behalf of, or in relation

to, any Fund.




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       2.      All documents and communications concernmg the performance of auditing,

accounting or other services by any affiliates or other offices of CohnReznick, including but not

limited to CohnReznick (Cayman), for, on behalf of, or in relation to, any Fund.

       3.      All documents concerning the assets, liabilities, and other financial affairs of

either Fund, whether provided by the Fund or obtained from other sources.

       4.      All documents and communications evidencing any assessment, whether made by

you or any other person, of the financial affairs of any Fund, including any inadequacies,

ambiguities, inconsistencies, uncertainties, or other potential flaws in such financial affairs or

their documentation.

       5.      All drafts and final versions of any work product that you prepared which relates

to or mentions any Fund, or which was prepared pursuant to your engagement to perform any

services for, on behalf of, or in relation to, any Fund.

       6.      All invoices issued by you to any Fund, including time entries supporting such

mvmces.

        7.     All documents and communications other than those referenced in any of the

foregoing Requests concerning payments made or to be made by or on behalf of any Fund in

respect of any invoices issued by you.

        8.      All documents and communications concernmg amounts due to the Funds,

including any balance on a client account.

        9.      Documents sufficient to identify any of your representatives who performed any

services for any Fund and to identify such services.

        10.     Documents sufficient to identify any of any Fund' s actual or purported

representatives who instructed you or otherwise interacted with you.



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       11.     All communications with persons other than representatives of any Fund

concerning the assets or liabilities of such Fund.

       12.     All communications between you and the Funds other than those referenced in

any of the foregoing Requests.

        13.    All communications between you and any other person (including but not limited

to any affiliates of the Funds, or affiliates or other offices of CohnReznick, including

CohnReznick (Cayman)), other than those referenced in any of the foregoing Requests,

concerning the Funds.

        14.    All documents and communications concerning any know-your-client process,

client acceptance and continuance process, risk management issue or the results thereof

concerning the Funds.

        15.    All emails that are property of, concern, or were made or issued on behalf of, the

Funds, other than those referenced in any of the foregoing Requests.




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